                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                  ROANOKE DIVISION

John Doe,                                             )
                                                      )
       Plaintiff,                                     )
                                                      )       NOTICE
vs.                                                   )       Civil Action No. 7:18CV00170
                                                      )
Virginia Polytechnic Institute and State University, et al,
                                                      )
       Defendant.                                     )

To:    Andrew T. Miltenberg, Jesse R. Binnall, Louise T. Gitcheva, Sarah E. York, Tara J.
       Davis

        Rule 4(m) of the Federal Rules of Civil Procedure states "If a defendant is not served
within 90 days after the complaint is filed, the court – on motion or on its own notice to the
plaintiff – must dismiss the action without prejudice against that defendant or order that service
be made within a specified time. But if the plaintiff shows good cause for the failure, the court
must extend the time for service for an appropriate period. This subdivision (m) does not apply
to service in a foreign country under Rule 4(f) or 4(j)(l) or to service of a notice under Rule
71.1(d)(3)(A).”

       Pursuant to that rule, you are hereby given notice that the Court's record reflects that your
complaint was filed on April 13, 2018 and as of this date, service has not been executed on
defendant(s), Virginia Polytechnic Institute and State University, Timothy Sands, Frank
Shushok, Jr., Ennis McCrery, Caroline Green, and Kyle Rose.

        You have until July 12, 2018 to notify the Clerk of this Court that service has been
accomplished on said defendants. Otherwise, the named defendants will be dismissed from the
suit without prejudice by Order of this Court.

                                                      JULIA C. DUDLEY, CLERK

                                                      By:     s/B. Weeks
                                                              Deputy Clerk




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